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8                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10   PRIMERICA LIFE INSURANCE                    Case No. 2:20-cv-06089-MCS-RAO
11   COMPANY, a corporation,
                                                 FINAL JUDGMENT AND ORDER
12                Plaintiff-in-Interpleader,     OF INTERPLEADER
13                                               DISBURSEMENT
            v.
14
15   MARY A. WATKINS, an individual;
     MARY A. WATKINS, in her capacity
16
     as representative of the Estate of Marvin
17   C. Watkins; and DOES 2 through 5,
     inclusive,
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19                Defendants-in-Interpleader.
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21         Pursuant to the Stipulation Re: Disbursement/Payment of Insurance Policy
22   Proceeds to Primary Beneficiary by Defendants-in-Interpleader Mary A. Watkins and
23   the Estate of Marvin C. Watkins (ECF No. 52) and the Order Re: Discharge and
24   Dismissal of Primerica Life Insurance Company (ECF No. 50), it is ORDERED,
25   ADJUDGED, and DECREED:
26         1.    Plaintiff-in-Interpleader Primerica Life Insurance Company (“Primerica”)
27   and its agents are discharged from any and all liability with respect to the subject
28   Primerica life insurance policy number 0430948124.
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1          2.     Defendant-in-Interpleader Mary A. Watkins, both in her individual
2    capacity and in her capacity as administrator and representative of the Estate of Marvin
3    C. Watkins, and her and the Estate of Marvin C. Watkins’s respective agents, attorneys,
4    and assigns, are enjoined and restrained perpetually from instituting any suit at law or
5    equity, or any action of any kind whatsoever, against Primerica or Primerica’s agents in
6    any way related to Primerica’s life insurance policy number 0430948124 or to the
7    benefit under that policy.
8          3.     The Clerk forthwith shall disburse the interpleaded funds—to wit,
9    $110,789.59 plus any accrued interest—by check made payable to Mary A. Watkins,
10   and delivered by first class mail to:
11                Mary A. Watkins
12                c/o Law Offices of Willie L. Grant & Associates
13                2701 E. Chapman Ave., # 110
14                Fullerton, CA 92831
15         4.     Upon distribution of the interpleaded funds, this matter shall be dismissed
16   with prejudice.
17   IT IS SO ORDERED.
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19    Dated: May 4, 2021
20                                                  MARK C. SCARSI
                                                    UNITED STATES DISTRICT JUDGE
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     cc: Fiscal Department
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